        Case 1:21-cv-04099-AT-RWL Document 77 Filed 05/27/22 Page 1 of 1



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                                                     May 27, 2022

VIA ECF

Hon. Robert W. Lehrburger, USMJ
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:       Hess v. Bed, Bath & Beyond, Inc., Case No. 21-cv-4099(AT)(RWL)

Dear Judge Lehrburger:

        I represent the Plaintiffs. Today is the day for submission of Plaintiff’s motion to amend
the complaint. The parties are discussing the potential for a consolidated briefing schedule as the
issues in both the motion to amend and motion to dismiss may overlap. The parties therefore
request a two week extension of the briefing schedule for Plaintiff’s anticipated motion to
amend.

                                                     Respectfully submitted,

                                                     Steven J. Moser
                                                     Steven J. Moser

CC:     All counsel of record via ECF




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